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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF LOUISIANA


       In re:                                                           Case No. 17-11213

       First NBC Bank Holding Company,                                  Section “A”

       Debtor.                                                          Chapter 11


            UNITED STATES’ OBJECTION TO CONFIRMATION OF THE SECOND
              AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION AS
                IMMATERIALLY MODIFIED THROUGH AUGUST 30, 2019

            NOW INTO COURT, comes the United States on behalf of its Department of

   the Treasury (the “United States”), and hereby objects to confirmation of the Second

   Amended Joint Chapter 11 Plan of Reorganization as Immaterially Modified through

   August 30, 2019 (the “Modified Plan”) (P-741, Ex. A). 1

                                                Introduction

            1. In this objection (“Modified Objection”), the United States objects to

   confirmation of the Modified Plan, which changes the treatment of the Series D Preferred

   Equity (Class 8) held by the United States compared to the treatment under the Second

   Amended Joint Chapter 11 Plan of Reorganization (“Unmodified Plan”) (P-621).

                                                 Background

            2. Debtor claimed its Unmodified Plan would not impair the Series D Preferred

   Equity, Second Amended Disclosure Statement at 23 (P-622 at 26), arguing that this

   equity interest would have been left with unaltered “legal, equitable, and contractual



   1
     The Debtor made a motion (P-741) — which has not yet been ruled on—for an order approving immaterial
   modifications (“Modifications”) to the Second Amended Joint Chapter 11 Plan. This Objection assumes that the
   Modifications will be approved by the Court. To the extent that the Modifications are not approved by the Court,
   the United States hereby incorporates by reference its prior Objection (P-669) (“United States’ Objection”) and the
   United States’ Supplemental Brief (P-691).
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   rights, all as set forth in the Articles of Amendment to the Articles of Incorporation.” Id.

   at 35 (P-622 at 38). The United States objected to the Unmodified Plan on the basis that

   it was not feasible, as leaving Series D Preferred Equity’s rights unaltered would require

   redemption of the shares for approximately $38 million due to a covenant 2 contained in

   the Securities Purchase Agreement between the Debtor and the United States (“Purchase

   Agreement”). United States’ Objection at 3 (P-669 at 3). Additionally, the United States

   objected on the basis that failing to redeem the Series D Preferred Equity would mean

   that Class 8 is impaired, and that the Unmodified Plan would violate the absolute priority

   rule as common equity—a junior class—would be left with unaltered rights. Id. at 4.

           3. Judge Magner ordered supplemental briefing on whether the covenants in the

   Purchase Agreement were binding. United States’ Supplemental Brief at 1 (P-691 at 1).

   Following supplemental briefing, Judge Magner advised the parties that the United

   States’ Objection presented very complex issues and that she could not rule on it prior to

   expiration of her term. She encouraged the parties to attempt to consensually resolve the

   United States’ Objection.

           4. For several weeks, the parties attempted to consensually resolve the United

   States’ Objection, but were unsuccessful. During these negotiations, the Debtor moved

   for approval of Modifications to the Unmodified Plan.

           5. The Modifications state, in part, that in addition to the rights applicable to the

   Series D Preferred Equity under the amendment to the Articles of Incorporation (the

   “Articles”), the rights under the Purchase Agreement would be left unaltered. (P-741,



   2
    This covenant (“BHC Covenant”) requires redemption of Series D Preferred Equity when the Debtor is no longer a
   bank holding company. United States Objection at 2 (p-669 at 2). Debtor lost its status as a bank holding company
   shortly before the bankruptcy petition was filed. Id.


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   Ex. A at 28). Additionally, the Modifications state that the Series D Preferred Equity will

   be redeemed once permitted under applicable law. Id. In essence, the Modifications

   acknowledge that the covenants contained in the Purchase Agreement apply, and that the

   Series D Preferred Equity must be redeemed as the Debtor is no longer a bank holding

   company.

             6. During negotiations regarding the United States’ Objection, the Debtor

   asserted that under L.A. Rev. Stat. Ann. § 12:1-640, the Debtor/Reorganized Debtor

   could not redeem the Series D Preferred Equity in a manner that would cause it to be

   unable to pay its debts as debts became due in the usual course of business. On that

   basis, the Debtor/Reorganized Debtor will not be able to redeem the Series D Preferred

   Equity in full for at least several years as it currently cannot pay approximately $38

   million to do so subject to L.A. Rev. Stat. Ann. § 12:1-640—assuming it could ever do so

   at all.

             7. The Debtor also represented that following confirmation, the Reorganized

   Debtor would be able to comply with all covenants in the Purchase Agreement, except

   for three: (a) the BHC covenant that requires the Series D Preferred to be redeemed if the

   Debtor is no longer a bank holding company; (b) a covenant that the Debtor remain

   “predominantly engaged in financial activities” while the United States owns Series D

   Preferred Equity; and (c) a covenant that the Debtor meet the minimum capital

   requirements of the “Appropriate Federal Banking Agency.” These covenants are ¶ 3 (e),

   ¶ 3 (f), and ¶ 3 (g) of the Purchase Agreement, respectively. (P-669-2 at 28).

             8. In particular, the BHC covenant requires the Debtor to “maintain its status as

   a” bank holding company as long as the United States owns any Series D Preferred



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   Equity shares. Purchase Agreement, ¶ 3 (e) (P-669-2 at 28). That covenant also requires

   the Debtor to redeem all Series D Preferred Equity shares owned by the United States

   before termination of bank holding company status. Id. The United States owns 37,935

   shares of Series D Preferred Equity, and their redemption price is at least $1,000 per

   share for a total of at least $37,935,000. See United States Objection at 2-3 (P-669 at 2-

   3).

                                                Argument

          I. Despite the Language of the Modified Plan, the United States Series D
             Preferred Equity Is Impaired, and Consequently, the Modified Plan
             Violates the Absolute Priority Rule.

          9. Generally, a class is not impaired in a bankruptcy plan within the meaning of

   11 U.S.C. § 1124 unless “‘the plan’ itself alters a claimant’s ‘legal, equitable, [or]

   contractual rights.’” In re Ultra Petroleum Corp., 913 F.3d 533, 540 (5th Cir. 2019).

   Under § 1124, any alteration of rights, “no matter how minor, constitutes ‘impairment.’”

   In re Village at Camp Bowie I, L.P., 710 F.3d 239, 245 (5th Cir. 2013). Although § 1124

   allows a debtor to cure a default that triggers an acceleration clause, “any other change in

   the [contractual] arrangement” constitutes impairment. In re Elijah, 41 B.R. 348, 350

   (Bankr. W.D. Mo. 1984).

          10. On its face the Modified Plan purports to leave “unaltered the legal,

   equitable, and contractual rights” of the Series D Preferred Equity under the Articles and

   the Purchase Agreement. (P-741, Ex. A at 28). However, under the Modified Plan, the

   United States would be required to hold preferred equity in an entity that is not a bank

   holding company, see (P-741, Ex. A at 28), contrary to the terms of the BHC covenant in

   the Purchase Agreement. See Purchase Agreement, ¶ 3 (e) (P-669-2 at 28). The



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   Modified Plan thus alters the United States’ rights, and consequently, impairs Class 8

   under § 1124. The United States would be impaired even though Louisiana law may

   prohibit the Debtor/Reorganized Debtor from redeeming the United States’ Series D

   Preferred Equity in full until its financial condition improves. Under the Modified Plan,

   full redemption of the Series D Preferred Equity would be delayed indefinitely—and

   might never occur—notwithstanding the Debtor/Reorganized Debtor’s loss of bank

   holding company status.

           11. In addition, under the Modified Plan, the United States would be required to

   hold preferred equity in an entity that does not hold capital as required by the capital

   covenant in ¶ 3 (g) of the Purchase Agreement (P-669-2 at 28), which also constitutes

   impairment.

           12. Moreover, if the Reorganized Debtor would not be a “predominantly

   financial” entity within the meaning of ¶ 3 (f) of the Purchase Agreement (P-669-2 at 28),

   the United States’ Series D Preferred Equity would be impaired on that basis as well.

           13. Under the absolute priority rule, a plan cannot be confirmed when an

   impaired class has not voted to accept the plan unless: (a) the impaired class’s

   claim/interest is paid in full; or (b) classes that are junior to the impaired class receive no

   recovery. In re IDEARC, Inc., 423 B.R. 138, 170 (Bankr. N.D. Tex. 2009) (citing 11

   U.S.C. § 1129 (b)(2)). Under § 1129 (b)(2)(C), before junior interests can receive or

   retain any value, a non-consenting impaired equity class must receive—as of the effective

   date—the greatest of any liquidation preference, fixed redemption price, or value of the

   impaired shares. In re Toy & Sports Warehouse, Inc., 37 B.R. 141, 152 (Bankr. S.D.N.Y.

   1984). The United States was deemed to be unimpaired and did not vote on the



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   Unmodified Plan.

           14. The fixed redemption price for the Series D Preferred Equity due upon the

   Debtor’s loss of bank holding company status is at least $37,935,000. Under the

   Modified Plan, the United States’ Series D Preferred Equity will not be redeemed in full

   upon the effective date, and may never be redeemed at all. Despite that, under the

   Modified Plan, common equity—a class junior to Series D Preferred Equity—would be

   left with unaltered “legal, equitable, and contractual rights.” (P-741, Ex. A at 27).

   However, the absolute priority rule requires that common equity receive no recovery if

   the Series D Preferred Equity will not receive its fixed redemption price. Accordingly,

   the Modified Plan violates the absolute priority rule and cannot be confirmed.

           II. Additionally, the Modified Plan Should Not Be Confirmed Due to Lack of
               Feasibility.

           15. To obtain confirmation, the Debtor “must show by a preponderance of the

   evidence that its plan is feasible,” or in other words, “not likely to be followed by . . .

   liquidation, or the need for further financial reorganization.” In re Save Our Springs

   Alliance, Inc., 632 F.3d 168, 172 (5th Cir. 2011) (citing 11 U.S.C. § 1129 (a)(11)).

   Feasibility does not need to be shown to certainty, but rather to “a reasonable assurance

   of commercial viability.” Id. While there is a commonly used six factor test for

   feasibility, a court does not need to consider all six factors. Id. at 173. Among the six

   factors is consideration of “any other related matter which determines the prospects of a

   sufficiently successful operation to enable performance of the provisions of the plan.” Id.

   at 173 n. 6.

           16. In this case, the requirement to redeem the Series D Preferred Equity—for at

   least $37,935,000—makes the Modified Plan unfeasible. To demonstrate that the


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   Modified Plan is feasible, the Debtor would need to show to a reasonable assurance of

   commercial viability that the Reorganized Debtor will redeem the Series D Preferred

   Equity at a cost of at least $37,935,000 subject to L.A. Rev. Stat. Ann. § 12:1-640. It is

   doubtful that the Debtor could meet that burden.

                                           Conclusion

          17. For the reasons stated herein, and in the United States’ Supplemental Brief

   and the United States’ Objection, the United States respectfully requests that this Court

   deny confirmation of the Modified Plan.


   Dated: October 23, 2019                              JOSEPH H. HUNT
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                                  CERTIFICATE OF SERVICE

          On October 23, 2019, I caused a copy of the foregoing UNITED STATES’ OBJECTION

   TO CONFIRMATION OF THE SECOND AMENDED JOINT CHAPTER 11 PLAN OF

   REORGANIZATION AS IMMATERIALLY MODIFIED THROUGH AUGUST 30, 2019 to be

   served electronically through the Court’s ECF system upon those who have consented to service

   in that manner.



   Dated: October 23, 2019                           /s/ Serajul F. Ali
                                                     Serajul F. Ali




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